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           IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

 In re

 CHAMPIONS ON DISPLAY, LLC,                 Case No. 19-10978
                                            Chapter 11
           Debtor.

AMENDED MOTION OF AMAZON CAPITAL SERVICES, INC. FOR RELIEF
 FROM THE AUTOMATIC STAY AND APPROVING ABANDONMENT OF
               PROPERTY, BRIEF IN SUPPORT,
         AND NOTICE OF OPPORTUNITY FOR HEARING

          Amazon Capital Services, Inc. respectfully requests the Court to enter an

order granting stay relief to permit Amazon to exercise remedies with respect to

collateral held in its fulﬁllment centers, consisting of inventory and the proceeds

thereof subject to a perfected security interest in Amazon’s favor, and approving

the Trustee’s abandonment of its interest in Amazon’s collateral. On the basis

stated below, Susan Manchester, as Trustee for the bankruptcy estate of

Champions on Display, LLC, does not object to the relief sought.

                                         I.
                                       FACTS

          Amazon made a loan to the Debtor in the original principal amount of

$570,000. (Moon Decl. ¶ 2, June 24, 2019, Ex. 1)       e Debtor promised to pay

interest at an annual rate of 15.22 percent on the outstanding principal amount,

together with costs and other amounts. (Moon Decl. ¶ 2, Ex. A.) As security for

the Debtor’s obligations, the Debtor granted Amazon a security interest in all the

Debtor’s inventory stored in Amazon’s fulﬁllment centers (“Fulﬁllment Center

Inventory”) and in the proceeds of sales of that inventory in the Debtor’s account

with Amazon (“Inventory Proceeds”). (Moon Decl. ¶ 3, Ex. A.) Taken together,
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Amazon’s collateral is comprised of the Fulﬁllment Center Inventory and the

Inventory Proceeds (collectively, the “Amazon Collateral”). Amazon perfected

its security interest by ﬁling a ﬁnancing statement on September 25, 2013 and a

continuation statement on September 5, 2018. (Moon Decl. ¶ 3, Ex. B.)

          e Debtor ﬁled for relief under chapter 7 of the Bankruptcy Code on

March 19, 2019 (the “Petition Date”). (ECF No. 1.) In its schedules of assets and

liabilities ﬁled on that same day, the Debtor admitted owing Amazon

$508,541.57. (ECF No. 1 at 14.) According to Amazon’s records, as of the

Petition Date the Debtor owed Amazon not less than $498,216.50.        e Debtor

owes Amazon not less than $468,349.63 as of June 24, 2019. (Moon Decl. ¶ 4,

Ex. C.) Amazon will provide the Trustee with an updated accounting of its claim

against the Debtor upon request.

       According to the Debtors’ schedules, the value of the Fulﬁllment Center

Inventory is only $238,957.22. (ECF No. 1 at 14.) As of July 6, 2019, Amazon

estimates the value of the Fulﬁllment Center Inventory is $323,000. As of July 9,

2019, the value of the Inventory Proceeds is $6,886.95. Amazon consequently

expects it will be left an unsecured, non-priority deﬁciency claim of not less than

$138,462.68.

       If the amount it may receive from the liquidation of the Amazon Collateral

is less than the amount of the Debtor’s obligations to Amazon, Amazon reserves

the right to ﬁle a proof of claim for the deﬁciency.




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                                       II.
                                    ARGUMENT

       A.          e Court should grant relief from the automatic stay.

            e Court should grant relief from the automatic stay to allow Amazon to

exercise its remedies with respect to the Amazon Collateral. Section 362 of the

Bankruptcy Code authorizes the Court to grant stay of relief for cause and, with

respect to property, if the Debtor does not have equity in the property and the

property is not necessary to an eﬀective reorganization.

            e Debtor does not need the Amazon Collateral to reorganize because it

is liquidating under chapter 7 of the Bankruptcy Code. Based on the Debtor’s own

admissions, it does not have equity in the Amazon Collateral. If there is equity,

however, then authorizing Amazon to exercise its remedies with respect to the

Amazon Collateral is the best way of preserving that equity and liquidating the

Amazon Collateral for the beneﬁt of all creditors. If the value of the Amazon

Collateral proves to be unexpectedly higher than the amount of the obligations

owed to Amazon, then the excess will be remitted to the Trustee for distribution.

            e stay relief requested by Amazon is to permit liquidation of the

Amazon Collateral and the application of proceeds thereof to Amazon’s claim

against the Debtor’s estate. As noted above, Amazon may ﬁle an unsecured, non-

priority claim for any balance of its claim not satisﬁed by liquidation of the

Amazon Collateral. Amazon has agreed to account to the Trustee regarding

liquidation and application of the Amazon Collateral proceeds and respecting any




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surplus payable to the Trustee or deﬁciency amount as may be presented as an

unsecured claim in this case.

       B.          e Court should approve the Trustee’s abandonment of any
                interest in the Amazon Collateral except to the extent of any
                surplus.

       On request of a party in interest, and after notice and a hearing, the Court

may order the Trustee to abandon any estate property that is burdensome to the

estate or that is of inconsequential value and beneﬁt to the estate. See 11 U.S.C.

§ 554(b).     e bankruptcy estate lacks any equity in the Amazon Collateral, which

is of inconsequential value and not of any potential beneﬁt to the estate.   e

Amazon Collateral is burdensome to the estate because it lacks an incentive to

make adequate-protection payments or otherwise care for it.

            e Trustee need not abandon any interest in any surplus remaining after

the liquidation of the Amazon Collateral and the satisfaction of obligations owed

to Amazon. By abandoning any other interest, however, Amazon will not need to

name the Trustee in any action to foreclose on the Amazon Collateral, which will

save Amazon and the Trustee time and money.

              III. NOTICE AND OPPORTUNITY FOR HEARING

YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THIS
DOCUMENT CAREFULLY AND CONSULT YOUR ATTORNEY ABOUT
YOUR RIGHTS AND THE EFFECT OF THIS DOCUMENT. IF YOU DO
NOT WANT THE COURT TO GRANT THE REQUESTED RELIEF, OR YOU
WISH TO HAVE YOUR VIEWS CONSIDERED, YOU MUST FILE A
WRITTEN RESPONSE OR OBJECTION TO THE REQUESTED RELIEF
WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT FOR
THE WESTERN DISTRICT OF OKLAHOMA, 215 DEAN A. MCGEE
AVENUE, OKLAHOMA CITY, OKLAHOMA 73102 NO LATER THAN 14
DAYS FROM THE DATE OF FILING THIS REQUEST FOR RELIEF. YOU
SHOULD ALSO MAIL A FILE-STAMPED COPY OF YOUR RESPONSE OR
OBJECTION TO THE UNDERSIGNED MOVANT/MOVANT'S ATTORNEY
[AND OTHERS WHO ARE REQUIRED TO BE SERVED] AND FILE A


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CERTIFICATE OF SERVICE WITH THE COURT. IF NO RESPONSE OR
OBJECTION IS TIMELY FILED, THE COURT MAY GRANT THE
REQUESTED RELIEF WITHOUT A HEARING OR FURTHER NOTICE.
THE 14 DAY PERIOD INCLUDES THE THREE (3) DAYS ALLOWED
FOR MAILING PROVIDED FOR IN RULE 9006(f).

                                       ***

       Susan Manchester, the Trustee for the Debtor’s bankruptcy estate, has

agreed (and authorized Amazon to state) that, upon the terms provided in this

motion, she does not object to the relief requested by Amazon to allow liquidation

and application of proceeds of the Amazon Collateral to Amazon’s claim, and to

conﬁrm Amazon may assert an unsecured claim against the Debtor’s estate for

any deﬁciency as may arise from such liquidation and application. For the

foregoing reasons, the Court should grant relief from the automatic stay.

Dated this 24th day of July, 2019.

                                     Respectfully submitted,

                                     /s/Timothy D. Kline
                                     Timothy D. Kline, OBA #5077
                                     PHILLIPS MURRAH, P.C.
                                     Corporate Tower, 13th Floor
                                     101 North Robinson Avenue
                                     Oklahoma City, OK 73102
                                     (405) 235-4100
                                     (405) 235-4133 (fax)
                                     tdkline@phillipsmurrah.com
                                     Attorneys for Amazon Capital Services, Inc.




                        CERTIFICATE OF SERVICE

       I certify that on the 24th day of July, 2019, a copy of the Motion was
forwarded to the parties listed on the mailing matrix attached hereto.


                                     By: s/Timothy D. Kline
                                     Timothy D. Kline, OBA #5077



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Label Matrix for local noticing                 ADT                                            AMEX Gold
1087-5                                          1 Town Center Rd.                              200 Vesey Street
Case 19-10978                                   Boca Raton FL 33486-1039                       New York NY 10285-1000
Western District of Oklahoma
Oklahoma City
Wed Jul 24 13:52:04 CDT 2019
AMEX Plum                                       AMEX SPG                                       AMEX Starwood
200 Vesey Street                                200 Vesey Street                               200 Vesey Street
New York NY 10285-1000                          New York NY 10285-1000                         New York NY 10285-1000



AT&T Mobile                                     Adobe                                          Amazon Capital Services
PO Box 6463                                     345 Park Avenue                                410 Terry Ave. North,
Carol Stream IL 60197-6463                      San Jose CA 95110-2704                         Seattle WA 98109-5210



Amazon Capital Services, Inc.                   American Express National Bank                 Asendia
Hugh McCullough                                 c/o Becket and Lee LLP                         Accounting Department
Davis Wright Tremaine LLP                       PO Box 3001                                    701C Ashland Ave.
920 Fifth Avenue, Suite 3300                    Malvern PA 19355-0701                          Folcroft PA 19032-2016
Seattle, WA 98104-1610

Brown and Joseph, LLC                           CES, Ltd.                                      Cathy C Barnum
PO Box 59838                                    100 W. Kirby                                   1011 24th Ave, NW
Schaumburg IL 60159-0838                        Detroit MI 48202-4044                          Norman, OK 73069-6365



Champions on Display LLC                        Channel Advisor                                Chase
223 East Main Street                            3025 Carrington Mill Boulevard,                P.O. Box 15298
Norman, OK 73069-1304                           Suite 500                                      Wilmington DE 19850-5298
                                                Morrisville NC 27560-5442


Citibank                                        Cox Business                                   Darrin Walters
Box 6000                                        Department 102437                              4116 Colchester Court
Sioux Falls SD 57117-6000                       PO BOX 1259                                    Norman OK 73072-4232
                                                Oaks PA 19456-1259


Discover                                        Dunman Properties LLC                          Google Adwords
P.O. Box 6103                                   6123 Lupton Drive                              1600 Amphitheatre Parkway
Carol Stream IL 60197-6103                      Dallas, TX 75225-1920                          Mountain View CA 94043-1351



(p)INTUIT INC C O CORPORATION SERVICE COMPANY   J. America/Vetta Brands                        Kabbage
251 LITTLE FALLS DRIVE                          1200 Mason Court                               925B Peachtree Street NE
WILMINGTON DE 19808-1674                        Webberville MI 48892-9021                      Suite 1688
                                                                                               Atlanta GA 30309-3918


Timothy Kline                                   Susan J. Manchester                            Microsoft Office 360
Phillips Murrah PC                              1100 N Shartel                                 One Microsoft Way
Corporate Tower, 13th Floor                     Oklahoma City, OK 73103-2602                   Redmond WA 98052-8300
101 North Robinson Avenue
Oklahoma City, OK 73102-5504
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Stephen J. Moriarty                                 Oklahoma Employment Security Commission              PayPal Business Loan
Fellers Snider                                      PO Box 53039                                         c/o Swift Financial LLC
100 N. Broadway Ave., Suite 1700                    Oklahoma City, OK 73152-3039                         3505 Silverside Road
Oklahoma City, OK 73102-8820                                                                             Wilmington DE 19810-4905


Paypal Working Capital                              Peak Property, LLC                                   RICO
Attn: Executive Escalation                          123 East Main Street                                 8030 Solutions Center
P.O. Box 5018                                       Norman OK 73069-1302                                 Chicago IL 60677-8000
Lutherville Timonium MD 21094-5018


Craig Regens                                        G. Blaine Schwabe                                    G. Blaine Schwabe III
Gable Gotwals                                       Gable Gotwals Mock Schwabe                           GableGotwals
One Leadership Square 15th Floor                    One Leadership Sq, 211 N Robinson                    One Leadership Square, 15th Floor
211 N Robinson Ave                                  Oklahoma City, OK 73102                              211 North Robinson
Oklahoma City, OK 73102-7109                                                                             Oklahoma City, OK 73102-7109

Search Spring                                       SearchSpring                                         (p)SHELTER INSURANCE COMPANY
3461 Ringsby Ct. #440                               3461 Ringsby Ct. #440                                1817 W BROADWAY
Denver CO 80216-4940                                Denver, CO 80216-4940                                COLUMBIA MO 65218-0001



Stamps.com                                          Swift Financial LLC                                  The Hartford Financial Services Group
1990 E. Grand Ave                                   Successor in interest to Celtic Bank Co              301 Woods Park Drive I (NHBC / 2nd Floor
El Segundo CA 90245-5013                            3505 Silverside Road Suite 200                       Clinton NY 13323-1139
                                                    Wilmington DE 19810-4905


Top of the World                                    Trust Pilot                                          UPS
3001 36th Ave NW,                                   245 Fifth Avenue                                     55 Glenlake Parkway, NE
Norman OK 73072-2417                                New York NY 10016-8728                               Atlanta GA 30328-3474



United States Trustee                               Upfund, Inc                                          WinCraft, Incorporated
United States Trustee                               540 Howard Street                                    960 E Mark St
215 Dean A. McGee Ave., 4th Floor                   San Francisco CA 94105-3012                          Winona, MN 55987-4723
Oklahoma City, OK 73102-3479


Wincraft                                            Zephyr
Credit Department                                   5443 Earhart Rd.
960 E Mark St                                       Loveland CO 80538-8846
Winona MN 55987-4723




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Intuit                                              Shelter Insurance
2700 Coast Ave                                      Corporate Office
Mountain View CA 94043                              1817 W. Broadway
                                                    Columbia MO 65218
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Amazon Capital Services, Inc.                    (u)CHTD Company-agent for unknown creditor           (d)Dunman Properties, LLC
                                                                                                         6123 Lupton Drive
                                                                                                         Dallas TX 75225-1920



(u)Louis M Dakil and Dakil Auctioneers, Inc.        (d)Susan J. Manchester                               End of Label Matrix
                                                    1100 N Shartel                                       Mailable recipients     52
                                                    Oklahoma City, OK 73103-2602                         Bypassed recipients      5
                                                                                                         Total                   57
